From: usastaffingoffice@opm.gov

To: Cox, Daren M - Greensbo! C - Contra:
Subject: [EXTERNAL] Notice of Results and Referral - Criminal Investigator (Special Agent), 22-11371439C-CIX-1811-7T9
Date: Tuesday, February 28, 2023 6:51:04 PM

CAUTION: This email originated from outside USPS. STOP and CONSIDER before responding, clicking
on links, or opening attachments.

Department of the Treasury
Internal Revenue Service
Human Capital Office
Talent Acquisition
Employment Operations

Dear Daren Cox:

This refers to the application you recently submitted to this office for the position identified
below:

Position: Criminal Investigator (Special Agent), GL-1811-7/9
Announcement: 22-11371439C-CIX-1811-7T9

You have requested consideration for the following geographic locations:

e Greensboro, North Carolina
e Raleigh, North Carolina
e Roanoke, Virginia

We have reviewed your application and made the following determination(s):

Ineligible for the following position or positions:

e GL-1811-9; You were not considered because you exceed the maximum age
requirement for this position.

If you claimed veterans' preference, your claimed veterans' preference is:
NV - No Preference Claimed

Based on the supporting documents you provided with your application, your adjudicated
veterans’ preference is:

The following is your referral status for the position or positions to which you applied:

mole Affidavit A
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e You have not been referred to the hiring manager for position GL-1811-9 in
Greensboro, North Carolina

© You have not been referred to the hiring manager for position GL-1811-9 in Raleigh,
North Carolina

e You have not been referred to the hiring manager for position GL-1811-9 in Roanoke,
Virginia

If you were determined eligible but not referred it may be due to regulatory requirements for
priority consideration of eligible veterans, priority placement candidates, and/or higher-
ranking candidates that must be certified and considered first. If we receive a request for
additional candidates, your application will be reviewed again for possible referral.

IMPORTANT INFORMATION REGARDING NOTICES FOR STANDING
REGISTER ANNOUNCEMENTS: Standing Registers provide supervisors with a current
inventory of applicants interested in IRS positions. If a request to fill a vacancy is received,
eligible applicants will be referred to the selecting official for consideration based on
Delegated Examining guidelines. Please be advised that you may receive more than one notice
for this announcement as vacancies are filled.

If you are referred, the selection process, which includes resume reviews and optional
interviews by the hiring manager, may take several weeks depending on the number of
applicants. Referral does not guarantee an interview or selection. You will receive email
notification of selection or non-selection. If further information or an interview is required,
you will be contacted by the Hiring Manager or designee.

If you are ineligible and not referred, you may update your application to provide additional
information for consideration only while the vacancy announcement is open on USAJobs.gov
(https://my.usajobs.go count/Login). There you will find a record of your application, the
application status, and an option to update your application. If additional vacancies remain,
your updated application will be re-evaluated. If you do not update your application, you will
not receive further consideration for the position listed above.

If you have any questions, please contact the HR Specialist below. Include your full name and
announcement number: 22-11371439C-CIX-1811-7T9 in the subject line of the e-mail. This
will expedite a response to your inquiry.

Sincerely,

Homer Byers
covingtonpersonnell @irs.gov

PLEASE DO NOT RESPOND TO THIS EMAIL MESSAGE. IT IS
AUTOMATICALLY GENERATED.

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COLA (1% less than last year) 4%
Years of lost service due to missed opportunity for missing Job 9
PV/yr 112,000.00
average of high 3 at yr 7,8,9 153,358.34
1% per year of service at year for 9 years per year in present value of future income 13,802.25
value of service time between retirement and average life expectancy 10.28 (67-87.28) summation 141,887.14
Difference of cost Government medical coverage costs in PV (160.14/mo for 10Yr) (single coverage assumed) summation 19,216.80
medical costs due to depression (insurance deductable only) 2,250.00
total in Present value $163,353.94

| find this to be fair and reasonable to be made whole

une Affidavit A
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DEPARTMENT OF THE TREASURY FINAL AGENCY DECISION
In the matter of
Daren Cox v. Janet L. Yellen, Secretary of the Treasury
TD Case No.: IRS-23-0457-F

This decision concerns the above-referenced complaint of discrimination against the
Department of the Treasury. This complaint concerns alleged violations of Title VII of the
Civil Rights Act of 1964 (Title VII), amended, 42 U.S.C. §2000e et seq.; and the Age
Discrimination in Employment Act of 1967 (ADEA), as amended, 29 U.S.C. § 621 et
seq.

PROCEDURAL CHRONOLOGY
Alleged discriminatory actions: February 28, 2023
Counselor contact: March 1, 2023
Notice of Right to file issued: March 30, 2023
Receipt of Notice of Right to File: March 30, 2023
Formal complaint filed: April 17, 2023
Acceptance letter issued: May 1, 2023
Investigation completed: September 18, 2023
Distribution of Investigative File (IF): September 18, 2023
Request to Withdraw from Hearing: December 27, 2023
Remand to Agency for FAD: January 10, 2024

ISSUE

Whether Complainant was subjected to discrimination based on age (YOB 1965) when,
on February 28, 2023, he was not selected for the position of Criminal Investigator
(Special Agent), under Vacancy Announcement 22-11371439-CIX-1811-7T9, due to the
age limit for the position.

BACKGROUND

Complainant, YOB 1965, was an applicant for the position at issue. He resided in Siler
City, NC. He worked as a Contractor with the United States Postal Service (USPS) asa
National Program Manager. He claimed the management official who discriminated
against him was aware of his age. (IF, Affidavit A, pp. 38-39)

Complainant stated he learned of the position at issue through USAStaffing and applied
through Internal Revenue Service (IRS or the Agency) careers. He did not recall the
qualifications specified in the vacancy announcement, but felt his qualifications met the
requirements of the knowledge, skills, and abilities listed in the vacancy announcement
based on his highly detailed data mining skills in a government setting. He claimed his
age was the only reason he was deemed ineligible for the position. Complainant stated
there was no review board or panel for the position, and he was unaware who served as

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the Selecting Official. He stated he learned he was not selected for the position via
email. (IF, Affidavit A, pp. 40-42)

Complainant contended Provisions of Public Law 93-950 and Public Law 100-238 allow
the imposing of a maximum age for original appointment to a Law Enforcement Officer
position with the Federal Government, but the same does not apply to the IRS or
Treasury Department. Complainant was not referred for positions in Greensboro, North
Carolina, Raleigh, North Carolina, and Roanoke, Virginia. (IF, Affidavit A, pp. 42, 49)

In his rebuttal statement, Complainant averred someone knew his age, based on the
rejection letter he received. (IF, Affidavit A, p. 62)

Management Testimony

S1 was an Human Resource (HR) Analyst at the time of the instant complaint. He stated
he did not know Complainant’s age. He stated the announcement was posted for a year
and had multiple posts of duty, and dozens of Selecting Officials were involved. He
stated Complainant applied for the position through USAJobs; however, he was not
aware of Complainant's qualifications; however, he stated Complainant was determined
ineligible for the position based on his responses to the online vacancy questions. He
believed Complainant to be accurately and appropriately ranked. (IF, Affidavit B, pp. 64-
66)

$1 specifically stated Complainant rated himself ineligible based on his responses to
the online vacancy questionnaire. He averred Complainant did not meet the minimum
qualifications, and was therefore, not recommended for an interview. (IF, Affidavit B, pp.
67-68)

S1 stated the Provisions of Public Law 93-950 and Public Law 100-238 allow the
imposition of a maximum age for original appointments to a law enforcement officer
position within the Federal government. The date immediately preceding an applicant's
37" birthday is the final date of referral for selection. This age restriction does not apply
to those who have previously served in a Federal civilian (not military) law enforcement
position covered by Title 5 U.S.C. Section 8336 (c) provisions and preference eligible
veterans. (IF, Affidavit B, p. 70)

OTHER EVIDENCE

The Complainant's application and testimony showed he was a USPS Contractor. (IF, -
Affidavit A, p. 38; Exhibit 2, p. 196)

The record contains the vacancy announcement for the Agency’s Criminal Investigator
(Special Agent) position that opened on February 1, 2022, and closed on January 31,
2023. The position was advertised at the GL7-9 level and was for duty locations across
the United States. The vacancy announcement contains the following special
requirement (in pertinent part):

MAXIMUM ENTRY AGE: Provisions of Public Law 93-950 and Public Law 100-238
allow the imposition of the maximum age for original appointments to a law enforcement

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officer position within the Federal government. The date immediately preceding your
37" birthday is the final date of referral for selection. This age restriction does not apply
to those who have previously served in a Federal civilian (not military) law enforcement
position covered by Title 5 U.S.C. Section 8336 (c) provisions and preference eligible
veterans. (IF, Exhibit 1, pp. 77-96)

The record contains Complainant's application. The first question regarding Eligibility
stated, “This position has an age requirement. Enter or select your date of birth, to
which he answered 06XX/1965.” (IF, Exhibit 2, p. 126)

The Office of Personnel Management's (OPM) Classification and Qualifications for the
Criminal Investigator — Treasury Enforcement Agent, 1811 is included in the file. Within
the Individual Occupation Requirements for the position is the maximum age
requirement that reads: Maximum Entry Age: The date immediately pending an
individual’s 37" birthday is the maximum entry age for original appointment to a
position within the Department of Treasury as a law enforcement officer as
defined in title 5 U.S.C. 8331(20) or in 5 U.S.C. 8401(17). Consideration will be
restricted to candidates who have not reached age 37 at the time of referral for
positions. (IF, Affidavit B, pp. 74-75)

APPLICABLE LAW
Disparate Treatment (Age)

This case involves an allegation of disparate treatment, that is, that the Agency treated
Complainant less favorably than others because of Complainant's membership in
protected groups. /nternational Brotherhood of Teamsters v. United States, 431 U.S.
324 (1977). The Supreme Court developed a standard of analysis in the case of
McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973), which is applied in making
determinations regarding alleged discriminatory treatment in disparate treatment cases.
Under the McDonnell Douglas standard, the complainant has the initial burden of
establishing a prima facie case of discrimination. To meet this burden, the complainant
must present facts which, if unexplained, reasonably give rise to an inference of
discrimination, i.e., an inference that a prohibited consideration was a factor in the
adverse employment action. See St. Mary’s Honor Center v. Hicks, 509 U.S. 502, 507
(1993); Texas Department of Community Affairs v. Burdine, 450 U.S. 248, 252-53
(1981); McDonnell Douglas 411 U.S. at 802. Establishing a prima facie case creates a
presumption that the Agency unlawfully discriminated against the employee. Burdine,
450 U.S. at 254.

To establish a prima facie case of unlawful intentional discrimination based on age ina
non-selection claim, the Complainant must establish that: (1) he is a member of a
protected class; (2) he applied and was qualified for the position; and (3) he was not
selected in favor of someone outside of his protected group. Keyes v. Secretary of the
Navy, 853 F.2d 1016, 1023 (1 st Cir. 1988); see also Weinstein v. U. S. Postal Service,
EEOC Appeal No. 01830674 (1983). The Complainant may also meet this burden by

3

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presenting other evidence that raises an inference of discrimination. Potter v. Goodwill
Industries of Cleveland, 518 F.2d 864 (6 th Cir. 1975); Furnco Construction Corp v.
Waters, 438 U.S. 567 (1978); Alcala v. Department of the Treasury, EEOC Decision No.
01975949 (March 7, 2000).

Once a prima facie case has been established, the Agency has the burden of rebutting
the presumption of discrimination by articulating a legitimate, nondiscriminatory reason
for its action. Furnco Construction Corp v. Waters at 567. This is not a burden of
persuasion, which at all times remains with the complainant, but rather a burden of
production — to clearly set forth the reason for its employment action. The Agency's
explanation must be sufficiently clear and specific such that the complainant will have a
fair opportunity to demonstrate pretext. Burdine, 450 U.S. at 253-256.

Once the Agency has articulated a legitimate, nondiscriminatory reason for its action,
the complainant has the burden to prove, by a preponderance of the evidence, that the
reason given by management for its action was not the true reason but a pretext for
discrimination. A complainant can establish pretext either directly, by showing a
discriminatory reason more likely motivated management, or indirectly by showing that
the Agency’s proffered explanation is unworthy of credence. Burdine, 450 U.S. at 256.

Generally, a complainant may show pretext, among other ways, either by presenting
direct evidence of discriminatory statements or the past personal treatment of the
complainant, or by using comparative evidence, such as statistics of management's
employment practices or evidence that management departed from its normal policy. At
this stage, the trier of fact must decide which party’s explanation of the Agency’s
motivation it believes. U.S. Postal Service Board of Governors v. Aikens, 460 U.S. 711,
716 (1983). “But a reason cannot be proved to be a pretext for discrimination unless it is
shown both that the reason was false, and that discrimination was the real reason.” St.
Mary’s Honor Center 509 U.S. at 515.

ANALYSIS
Disparate Treatment

Based on the record, Complainant is over the age of 40. He applied for the position at
issue. However, he was not qualified for the position, as he did not meet the age
requirement of 37 years of age or younger at the time of the original appointment to the
position; and therefore, he determined ineligible for the position and was not selected
for the position at issue. Complainant has failed to establish a prima facie case of
discrimination based on his age for this non-selection.

Nevertheless, we turn to the Agency’s reasons for its actions. Specifically, the Agency
posted in the vacancy announcement that the maximum age for original appointments
to this position was 37 years of age at the time of referral. This requirement was stated
in bold within the vacancy announcement. Additionally, this is a requirement set forth in
OPM’s classification and qualification standards specifically for the IRS Criminal
Investigator (Special Agent). Therefore, the Agency has articulated legitimate, non-
discriminatory reasons for its non-referral of the Complainant and deeming him ineligible
for the position.

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We next move to Complainant's rebuttal that simply states he was discriminated against
based on his age, the IRS does not have the same age requirement as other agencies,
and that someone was aware of his age, as it was on his application. On appeal, the
Agency “can legally set minimum and maximum age limits for its law enforcement
positions.” Laney v. Department of the Treasury, 97 FEOR 1089 , EEOC No. 01956656
(EEOC OFO 1996).

The Complainant fails to acknowledge the instant position had an age requirement for
the IRS Criminal Investigator (Special Agent). Furthermore, the very first question on the
vacancy questionnaire for the position states the position has an age requirement, and
then asks for the applicant's date of birth. Upon answering this question, and without
having prior civilian Federal experience, Complainant was automatically deemed
ineligible for the position, based on his own answer.

We find the Agency's articulation of its reason for deeming Complainant ineligible for the
position was not discriminatory, but rather, based on an age requirement set forth in
OPM's requirements and the Agency’s vacancy announcement. See 29 USC

623 (f); Campbell v. Department of Justice, 97 FEOR 3140 , EEOC No. 05960550
(EEOC 1997) (Although it is usually impermissible to base personnel actions on
considerations of age, it can be used as a factor in those limited situations in which age
is a bona fide occupational qualification.). Complainant's rebuttal did not make
management's articulation unworthy of belief or prove management's articulation was
pretext for discrimination. Rather, Complainant's belief that IRS Special Agents were
exempt from the age requirement was misplaced, and he was ineligible for the position
to which he applied.

CONCLUSION

This constitutes the final agency decision by the Department of the Treasury on this
complaint. It is the decision of the Department that a finding of no discrimination is
appropriate in this matter. Complainant is not entitled to relief.

: ”, Digitally signed by
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/ Date: 2024.03.10
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Snider Page

Director, Office of Civil Rights and EEO

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NOTICE OF APPEAL RIGHTS

If you are dissatisfied with this decision because the Agency incorrectly depicted the
facts or applied the wrong law, you may appeal to the Equal Employment Opportunity
Commission’s Office of Federal Operations within 30 calendar days of the date of your
receipt of the Agency's final action, or, if you are represented by an attorney, within 30
calendar days of your attorney's receipt of this action. If a time expires on a Saturday,
Sunday or Federal holiday, you may file on the next business day.

How to Appeal

RECOMMENDED METHOD - The EEOC strongly encourages federal employees who wish to
appeal a final Agency decision to file their appeal online using the EEOC Public Portal at
https://publicportal.eeoc.gov/. Please see the attached document on Electronically
Appealing this Agency Decision for detailed instructions on how to use the EEOC Public
Portal to file an electronic appeal.

important: If you file an appeal through the EEOC public portal, you must select your
Bureau (e.g., BEP, BFS, FINCEN, IRS, IRSCC, MINT, OCC, TTB, DO) as the respondent
Agency named in your complaint. (Do not select the Treasury Department as the
responding Agency unless you work for the Departmental Offices (DO).) The responding
Agency is identified by the first letters of your Agency Complaint number. If you select
the Treasury Department rather than your particular Bureau, the appeal will not be
received by the correct parties (unless you work for DO). This is explained in the
attached document on Requesting an Appeal in section 16.

Individuals who are deaf or hard of hearing can reach the EEOC by videophone at 1-844-234-
5122. If you have a disability which prevents you from accessing the Public Portal or you
otherwise have difficulty with accessing the portal, please call 1-800-669-4000.

If you choose not to use the EEOC Public Portal, you may mail your written appeal or
stating supporting an appeal to the Equal Employment Opportunity Commission, Office
of Federal Operations, P.O. Box 77960, Washington, D.C. 20013-8960. If your appeal
or statement is 10 pages or less, you can also fax it to the Office of Federal Operations
at (202) 663-7022. Finally, you can hand-deliver your appeal to: Equal Employment
Opportunity Commission, Office of Federal Operations, 131 M St., N.E. Washington,
D.C. 20507. If you choose one of these alternative filing options, you should use
the attached EEOC Form 573, Notice of Appeal/Petition, and should indicate what
you are appealing.

Submitting a Statement or Brief in Support of Your Appeal

Any supporting statement or brief must be submitted to the EEOC within 30 calendar
days of the date you filed the appeal.

Copying the Agency

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If you use the EEOC Public Portal to file your appeal and to submit a supporting
statement or brief, you do not need to separately serve the Agency with a copy. If you
instead mail or fax your appeal filing and supporting statement/brief to the EEOC, you
must also submit a copy to the Agency. The Agency strongly prefers that you use email
to send your appeal documentation to EEOCElections@treasury.gov. lf you are unable
to use email, you may serve your appeal documentation via mail to the Director, Office
of Civil Rights and EEO, Department of the Treasury, 1500 Pennsylvania Ave., NW,
Washington, DC 20220, or via facsimile to (202) 622-0367. The EEOC requires that
when using mail or fax to send your appeal filing and supporting statement to the
EEOG. you must include a statement certifying the date and method by which service

was made to the Agency.

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FILING A CIVIL ACTION

You also have the right to file a civil action in an appropriate United States District Court
within 90 days after you receive this final decision if you do not appeal to EEOC, or
within 90 days after receipt of the EEOC’s final decision on appeal.

You may also file a civil action after 180 days from the date of filing an appeal with
EEOC if there has been no final decision by EEOC.

If your claim is based on age discrimination, you should seek the advice of an attorney if
you wish to file a civil action after expiration of the time limits noted above. The courts
disagree about when a civil action must be filed and may permit an age discrimination
complaint to be filed two years or more from the date of the alleged discrimination.

You must also comply with the following instructions:

(1) You must name JANET L. YELLEN, SECRETARY OF THE TREASURY, as the
defendant. Failure to provide her name and official title may result in dismissal of your
case.

(2) If you decide to file a civil action and if you do not have, or cannot afford, the
services of an attorney, you may request that the Court appoint an attorney to represent
you and that the Court permit you to file the action without payment of fees, costs, or
other security. The grant or denial of the request is within the sole discretion of the
Court. Filing a request for an attorney does not extend the time in which to file a civil
action. Both the request and the civil action must be filed within 90 days of the date
you receive the agency or EEOC decision.

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NOTICE OF APPEAL/PETITION
TO THE EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

OFFICE OF FEDERAL OPERATIONS
P.O, Box 77960
Washington, DC 20013

Complainant Information: (Please Print or Type)

Attorney/Representative Information (if any):

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|Has a final action been taken by the Yes; Date Received (Remember to attach a copy)
agency, an Arbitrator, FLRA, or No

MSPB on this complaint? — | This appeal alleges a breach of settlement agreement

Has a complaint been filed on this

|same matter with the EEOC, No
another agency, or through any Yes (Indicate the agency or procedure, complaint/docket number,

other administrative or collective and attach a copy, if appropriate)
bargaining procedures?

Has a civil action (lawsuit) been filed No
in connection with this complaint? Yes (Attach a copy of the civil action filed)

NOTICE: Please attach a copy of the final decision or order from which you are appealing. If a hearing was
requested, please attach a copy of the agency's final order and a copy of the EEOC Administrative Judge's decision.
Any comments or brief in support of this appeal MUST be filed with the EEOC and with the agency within 30 days
of the date this appeal is filed. The date the appeal is filed is the date on which it is postmarked, hand delivered, or
faxed to the EEOC at the address above.

Signature of complainant or
complainant's representative:

Date:

EEOC Form 573 REV 1/01

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PRIVACY ACT STATEMENT

(This form is covered by the Privacy Act of 1974. Public Law 93-597. Authority for
requesting the personal data and the use thereof are given below.)

1;
2.
3. PRINCIPAL PURPOSE: The purpose of this questionnaire is to solicit

FORM NUMBER'TITLE/DATE: EEOC Form 573, Notice of Appeal/Petition,
January 2001
AUTHORITY: 42 U.S.C. § 2000e-16

information to enable the Commission to properly and efficiently adjudicate
appeals filed by Federal employees, former Federal employees, and
applicants for Federal employment.

ROUTINE USES: Information provided on this form will be used by
Commission employees to determine: (a) the appropriate agency from which
to request relevant files; (b) whether the appeal is timely; (c) whether the
Commission has jurisdiction over the issue(s) raised in the appeal, and (d)
generally, to assist the Commission in properly processing and deciding
appeals. Decisions of the Commission are final administrative decisions,
and, as such, are available to the public under the provisions of the Freedom
of Information Act. Some information may also be used in depersonalized
form as a data base for statistical purposes.

WHETHER DISCLOSURE IS MANDATORY OR VOLUNTARY AND
EFFECT ON INDIVIDUAL FOR NOT PROVIDING INFORMATION: Since
your appeal is a voluntary action, you are not required to provide any
personal information in connection with it. However, failure to supply the
Commission with the requested information could hinder timely processing
of your case, or even result in the rejection or dismissal of your appeal.

Send your appeal to:

The Equal Employment Opportunity Commission
Office of Federal Operations
P.O. Box 77960
Washington, D.C. 20013

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DEPARTMENT OF THE TREASURY
OFFICE OF CIVIL RIGHTS AND EEO
CERTIFICATE OF SERVICE

For timeliness purposes, the Office of Civil Rights and EEO, Department of the
Treasury, will presume that the enclosed documents are received immediately upon
successful delivery by email. Please note that whenever possible, this Office will
conduct all correspondence electronically, via email, unless a reasonable
accommodation is requested. On this date, | emailed the final agency decision on the
complaint filed by Wade Harkins, TD Case No.: IRS-23-0457-F, to the persons listed
below, by the methods specified. Included with this final decision are the Notice of
Appeal Rights, EEOC Public Portal Appeal Instructions, EEOC Form 573, the Privacy
Act Statement, and this Certificate of Service. There are 17 pages total.

| Digitally signed by Keiana C.

Keiana C. Myers wer

Date: 2024.03.11 09:15:03 -04'00'

EEO Assistant Date
Department of the Treasury

Office of Civil Rights and EEO

1500 Pennsylvania Ave., NW

Washington, DC 20220
EEOCElections@treasury.gov

Telephone: 202-622-1160

Sent via email to Complainant:

Daren Cox, darencox@outlook.com

Anthony C. Contreras, Senior EEO Specialist, EDI, IRS
Anthony L. Jacobi, EEO Specialist, EDI, IRS

Ruth H. Golden, EEO Specialist, EDI, IRS
CC.GLSCLPDocket@irs.gov

GLSATLDocket@irscounsel.treas.gov

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Electronically Appealing this Agency Decision, Associating an Attorney/Representative and
Submitting Documentation Using the EEOC Public Portal

The decision you have just received may be appealed to the Equal Employment Opportunity Commission
(EEOC). As an alternative to mailing in your appeal, you may now file it using EEOC’s Public Portal.

WARNING!

Attorneys and non-legal representatives MUST NOT use the EEOC Public Portal to file appeals on behalf of
their clients because the system will incorrectly list the representative as the complainant. Therefore,
complainants MUST file appeals themselves through the EEOC Public Portal, regardless of whether they are
being represented in their appeal.

Also, please see the note in red below under #16 to make sure you file your appeal with the correct
component/Bureau of the Department, rather than with the Department of the Treasury generally.

Here are the instructions for filing your appeal in the EEOC Public Portal:
1. The first step is registering for the Public Portal (if you are already registered in the Public Portal, you

may skip to #5 below). Go to https://publicportal.eeoc.gov/Portal/Login.aspx, and click on the Register
link on the upper, right-hand side of the page.

|
& Sign In|Register

2. Read the EEOC Public Portal’s Privacy Policy and click on the OK button.

3. Fill out the requested information, being sure to enter the information for the required fields
designated by the red asterisk (*). Please note that when you enter your Zip Code and press the Tab
key, your City and State should auto-populate. Once you enter your email address, click the Tab key
and then select Validate. The Portal will then send an email containing a verification code to the email
address you entered. Go to that email account, open the email from “U.S. Equal Employment
Opportunity Commission,” copy or take note of the code, go back to the Create Account page, paste or
enter the code in the box provided, and click Submit.

Email Code Verification @B

Enter the email verification code sent to your email. If
you cannot find this email in your inbox, please check
your Spam folder.

886189 | “Submit || Cancel |

4, Enter at least one telephone number, enter a password twice (to confirm), select and provide the
answer to two Security Questions, and click Submit. You will then be brought back to the Public Portal
Home page.

5. Click on the Filing with EEOC icon.

_ eit

Filing with EEOC

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6. Inthe resulting page, click on the circle next to Federal Government agency that | applied to, work
for, or worked for as a federal employee or contractor, and then click Next.

oO Federal Government agency that | applied to, work for, or worked for as a federal employee or contractor

7. Read the information provided and click on any links of interest. When done, click Next.
8. In the resulting page, click on the circle next to File a new appeal. Then click Next.
9. Read the information on the next screen. Then click Next.

10. A Confirmation pop-up will appear reminding you that the EEOC Public Portal does not permit
attorneys or representatives to file an appeal on behalf of a complainant. If you, as complainant, are
filing the appeal, click Yes. If you are an attorney or representative, click No and instead have
complainant file on their own behalf, naming you as their attorney or representative.

11. Read the information you will need to provide to the EEOC. Make sure that it is available so that you
can answer the next questions. When you have gathered that information, click Next.

12. Review the Information about you page to ensure that it is correct. Upon confirming the information
is accurate, click Continue.

13. If you do not have an attorney or representative, click on the circle for No, and click Next [You may
skip to #16 below]. IF YOU ARE REPRESENTED BY AN ATTORNEY OR REPRESENTATIVE, click on the
circle for Yes, and click Next.

14. Fill out the required information designated with a red asterisk (*) (again, when you enter your
attorney’s/rep’s Zip code and hit the Tab key, the City and State information will auto-populate), and
when complete, click Next. The system will send a message to the email address you provided for your
attorney/representative asking that they verify that they are representing you.

Representative Information

(By providing this information you authorize EEOC to verify this person represents you.)

Is this person an attorney?* © Yes O No

Ebi: = cn a

First Name:* a "7 Middle:

Last Name: ! ‘ones Ea =e  suth — Co aq
Country:* _ United States of America By 2 Code: 200860

Clty “WASHINGTON =| State: | District Of Columbia
hone Number t = : ar ew atom grre mou ns —— : :

CellNumber; egy, 1234567800 00 Ea _ether42@netscapezs.com

15. In the resulting screen you can add another attorney/representative as necessary or edit the
information of an existing attorney/representative. When complete, click Next.

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16. On the Agency Information page, fill out the required information designated with a red asterisk (*)
(again, when you enter the agency facility’s Zip code and click Tab, the City and State information will
auto-populate). When selecting the Agency named in your complaint, be sure to select the
appropriate component against which you brought your EEO complaint, as identified by the first
letters of your Agency Complaint number. |.e., you should select your particular Bureau (e.g., BEP,
BFS, FinCEN, IRS, IRSCC, MINT, OCC, TTB), not the Department of the Treasury (unless you work for
Departmental Offices within Treasury). You can begin typing the agency/component and select it
when it appears, or click on the magnifying glass icon and select the agency/component from the
resulting list. The Agency Complaint number is the number assigned by the agency against which
you filed the complaint — not the EEOC Hearing number. When complete, click Next.

Agency Information
Agency named in your complaint:*
{oo

Agency Complaint number t .

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Location of duty station or local facility in which the complaint arose:*
Address]. . snus AOOORBE
Country/Reglon* Zip Code

- United States of America | i 20036

City* State

| WASHINGTON x District Of Columbia

17. In the second Agency Information page, answer the required information designated with a red
asterisk (*). If you requested a hearing before an EEOC Administrative Judge (whether/not a hearing
was held), be sure to enter the Hearing Number assigned to your request. When complete, click

Submit Appeal.

18. The EEOC Public Portal will send to the email address you entered into the Public Portal an initial letter
acknowledging your appeal request and providing you with next steps and links to helpful resources.
How to View Documents and Add Documents to Your Appeal

After electronically filing your appeal, you (and your attorney or representative if you have added them to
your appeal) can then add documents that EEOC can use to determine whether the appeal is appropriate,

and/or that helps support your appeal.
1. While still logged in, or after having again logged in to the Public Portal, click on the My Cases icon.

My Cases

2. Click on the link for the Appeal Number for which you are submitting documentation.

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10.

In the resulting My Case page, you can read the current status of your appeal, add or update
attorneys/representatives, and, as directed by the information contained in the My Documents
section, upload or review existing documentation.

To review existing documentation, click on the link for the particular file. Once you click OK
acknowledging that it may take a while to download, you will be prompted to open the file in the
appropriate program, usually Adobe Acrobat, or some other PDF reader. Once you click on your
preferred program and click OK, the document will open for your review. If you wish, you can save the
file to your computer. You can do this for any of the files listed in the My Documents section.

To add documentation to your appeal, e.g., the agency’s final decision on your EEO complaint (adding
this document is strongly recommended), supporting evidence, or (as permitted by EEOC’s
regulations) a statement or brief in support of your appeal), click on the Upload icon.

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In the resulting window, select from the Type of Document drop-down what kind of document you are
adding (e.g., “Appeal” if you wish to upload the EEOC Form 573 Notice of Appeal/Petition; “Agency
Final Action” for the agency’s decision on your EEO complaint), and then click on the Attach Document
button. DO NOT UPLOAD PASSWORD-PROTECTED DOCUMENTS.

@
Type of Document: * : | Agency Final Action v
Select file to upload: * + | Attach Document |

Note: When uploading the file, it may not appear in your document list immediately. You may need to click the refresh
button on your browser.

* Fields are mandatory. Please hick missions into as few files a3 possible and DO NOT UPLOAD
PASSWORD PROTECTED DOCUMENTS.

(ape unalone k
| Upload 5; Cancel |

You will then be presented with a File Upload screen, where you can navigate to where the file you
wish to upload is located, select the file, and click Open. The file name will then appear in the Select
file to upload window. Click Upload.

lf the document you uploaded doesn’t immediately appear in the list of documents, click once or twice
on your browser’s Refresh icon. C Then the document will appear in the list.

The Public Portal will send you and any attorneys/representatives you have added an email indicating
that your document was successfully added to the appellate record.

Repeat Steps 5 through 8 for any other documentation you wish to upload. Rather than submitting
multiple, separate documents individually, make every effort to combine your documents into a
single file. For example, if you want to submit a statement in support of your appeal, and your
statement refers to exhibits, combine the statement and exhibits into one document, and then submit
that one document. Doing so allows for more efficient and effective review of your appeal file. We
note that there are multiple smart phone apps available that allow you to “scan” multiple-page
documents into a single digital file.

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